Case 2:16-cr-00081-SPC-KCD Document 320 Filed 07/12/17 Page 1 of 2 PageID 2634




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

 UNITED STATES OF AMERICA

 vs.                                                    CASE NO: 2:16-cr-81-FtM-38CM

 BROWN LASTER, JR.


                                         ORDER1

        This matter comes before the Court on Brown Laster, Jr.’s Amended Request for

 Issuance of Subpoena without Cost to the Defendant (Doc. 278) filed on July 3, 2017.

 The Government filed a Response in Opposition (Doc. 303) on July 11, 2017. This matter

 is ripe for review.

        Previously, Laster requested that this Court declare inapplicable 28 C.F.R.

 16.23(c), which governs the procedure to obtain oral testimony from a Department of

 Justice employee. (Doc. 276). The Court denied Laster’s motion and held the regulation

 applicable. (Doc. 299). Now, Laster requests the Court to direct the appropriate entities

 to issue and serve a subpoena on FBI Special Agent Gabriel Krug. The Government

 objects to this request because Laster failed to comply with Section 16.23(c). (Doc. 303).

 Because Laster failed to comply with the applicable regulation, the Court will deny




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Case 2:16-cr-00081-SPC-KCD Document 320 Filed 07/12/17 Page 2 of 2 PageID 2635




 Laster’s Request. See U.S. v. White, 12-2833-MJ, 2013 WL 5954384, at *3 (S.D. Fla.

 Nov. 7, 2013).

       Accordingly, it is now

       ORDERED:

       Brown Laster, Jr.’s Amended Request for Issuance of Subpoena without Cost to

 the Defendant (Doc. 278) is DENIED.

       DONE AND ORDERED at Fort Myers, Florida, this July 12, 2017.




 Copies: Counsel of Record




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